Case 2:21-cv-01412-ART-EJY   Document 437-19   Filed 01/06/25   Page 1 of 7




              EXHIBIT L
 2017.12.28 Dance Magazine Article
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:29 PM                              Document
                                        The Definitive Ranking of437-19         FiledCraziest
                                                                 All of Dusty Button's 01/06/25          Page 2 of 7
                                                                                              Turning Videos




    DANCE            DANCE                POINTE                THE DANCE        EVENTS       COLLEGE          NEWSLETTERS
    SPIRIT |         TEACHER |            MAGAZINE |            EDIT |           CALENDAR |   GUIDE |




    


                                                                                                                        a




    DANCER SPOTLIGHT

    The Definitive Ranking of All of Dusty Button's
    Craziest Turning Videos

                   Lauren Wingenroth



                                       


https://www.dancemagazine.com/dusty-button-instagram-turning-videos/#gsc.tab=0                                               1/10
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:29 PM                              Document
                                        The Definitive Ranking of437-19         FiledCraziest
                                                                 All of Dusty Button's 01/06/25          Page 3 of 7
                                                                                              Turning Videos

    December 28, 2017


    If you’ve ever scrolled through former Boston Ballet principal Dusty Button’s Instagram, you’ve
    probably experienced the mixture of utter disbelief and total envy that comes with watching
    videos of her turning. She’s ridiculously aerodynamic, endlessly daring, and every time you think
    she’s done, she fits in another revolution.

    We rounded up her most mind-blowing turning videos, ranked by how far they made our jaws
    drop:


    6. Here’s a polite sampling of some of the tricks Button has up her sleeve. They’re
    super impressive, but, trust us, you ain’t seen nothin’ yet.




https://www.dancemagazine.com/dusty-button-instagram-turning-videos/#gsc.tab=0                                         2/10
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:29 PM                              Document
                                        The Definitive Ranking of437-19         FiledCraziest
                                                                 All of Dusty Button's 01/06/25          Page 4 of 7
                                                                                              Turning Videos




                                             The link to this photo or video may be
                                              broken, or the post may have been
                                                             removed.

                                                           Visit Instagram




    5. Coming in at #5 are these tornadic pirouettes, which have us reeling from their
    sheer speed.


    4. Yes, Button can whip out rounds of fast, fancy turns. But she can also control them
    and float for a few lengthy seconds. That’s why this one makes the list.
https://www.dancemagazine.com/dusty-button-instagram-turning-videos/#gsc.tab=0                                         3/10
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:29 PM                              Document
                                        The Definitive Ranking of437-19         FiledCraziest
                                                                 All of Dusty Button's 01/06/25          Page 5 of 7
                                                                                              Turning Videos




                                             The link to this photo or video may be
                                              broken, or the post may have been
                                                             removed.

                                                           Visit Instagram




    3. She’s turning on concrete. Enough said. Don’t try this at home, kids.




https://www.dancemagazine.com/dusty-button-instagram-turning-videos/#gsc.tab=0                                         4/10
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:29 PM                              Document
                                        The Definitive Ranking of437-19         FiledCraziest
                                                                 All of Dusty Button's 01/06/25          Page 6 of 7
                                                                                              Turning Videos




                                             The link to this photo or video may be
                                              broken, or the post may have been
                                                             removed.

                                                           Visit Instagram




    2. And there you have it, people. Ten pirouettes. Ten casual pirouettes.




https://www.dancemagazine.com/dusty-button-instagram-turning-videos/#gsc.tab=0                                         5/10
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:29 PM                              Document
                                        The Definitive Ranking of437-19         FiledCraziest
                                                                 All of Dusty Button's 01/06/25          Page 7 of 7
                                                                                              Turning Videos




                                             The link to this photo or video may be
                                              broken, or the post may have been
                                                             removed.

                                                           Visit Instagram




    1. This series of superhuman feats takes the cake. We have a lot of questions:
    What’s even going on in that first turn? How does she completely stop her
    momentum for that arabesque? Most importantly, how do we learn how to turn like
    Dusty?!




https://www.dancemagazine.com/dusty-button-instagram-turning-videos/#gsc.tab=0                                         6/10
